Case 2:04-cr-20104-tmp Document 46 Filed 07/19/05 Page 1 of 2 Page|D 30

UNITED sTATES DISTRICT COURT jay g w pt ,,
WESTERN DISTRICT oF TENNESSEE "` "“ /51513’ D_,n
Western Division l

UNITED STATES OF AMERICA

 

-vs_

DERRICK JONES

 

ORDER OF TEMPORARY DETENTION
PENI)ING HIL'ARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a pc/detention hearing is set for
FRIDAY, JULY 22, 2005 at 2:30 P.M. before United States Magistrate Judge Diane K. Vescovo
in Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing.

Date: Julyl9, 2005 f@/{ME/ \7( %W!

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

 

'lf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant. 18 U.S.C. § 3142(f)(2).

A hearing is required Whenever the conditions set forth in 18 U.S.C. § 3 l 42(f) are present Subsection ( l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct j ustice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (BfBE) Order of Temporary Deteniion

Thie document entered on the docket hee in eompli ce _,/'
with ama 55 and/or 32(b) FaorP on fz/ l 10 F

   
 

  
 

 

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UNITED sTTES DISTICT COURT - WERNSTE D"RITICT 0 TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:04-CR-20104 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

.l Patten Brown

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Kristen Coyne

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Honorable Tu Pham
US DISTRICT COURT

